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                     IN THE UNITED STATES DISTRICT COURT                          ^.

                            FOR THE DISTRICT OF HAWAII
                                                                               0/r
    UNITED STATES OF AMERICA,                        1:17-CR-00101-LEK-1               %

                 Plaintiff(s),

          vs.                                        RECEIPT FOR EXHIBITS


    Anthony T. Williams,

                 Defendant(s).

                Rjo^ K- GvrtcO
          I, Ken SoronsorL^Grogoiy Yates ofthe U.S. Attorneys Office, the designated

    Court custodian ofthe trial exhibits, acknowledge receipt of said exhibits and

    assume full responsibility for the preservation and maintenance of said exhibits

    until the final disposition ofthis case.

          DATED:        Honolulu, Hawaii,                  10, 2^2^0




                                               Signature


                                               Attorney for: Government
